                      UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                        :       Chapter 13
Lauren Scholl,                                :
                 Debtor.                      :       Bankruptcy No. 22-10944-MDC


                                         ORDER
         AND NOW, this 28th day of April 2023, it is hereby ORDERED that if Lauren Scholl

(the “Debtor”) and PennyMac Loan Services, LLC (“Mortgagee”) elect to enter into the

proposed loan modification under the terms proposed by Mortgagee, the Debtor and Mortgagee

may do so without there being any violation of the bankruptcy stay, or the provisions of

11 U.S.C. §362.

         It is further ORDERED that in the event the parties enter into a loan modification, the

Debtor shall (1) amend Schedules I and J to reflect any increase in monthly disposable income as

a result of the loan modification, and (2) file an amended Chapter 13 plan reflecting the loan

modification.


                                                      MAGDELINE D. COLEMAN
                                                      CHIEF U.S. BANKRUPTCY JUDGE
Tova Weiss, Esquire
Blitshtein & Weiss, P.C.
648 2nd Street Pike
Southampton, PA 18966

Kenneth E. West, Esquire
Chapter 13 Standing Trustee
1234 Market Street, Suite 1813
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United States Trustee
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